             Case 1:16-cr-00776-VEC Document 642 Filed 05/01/18 Page 1 of 1




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                                                      May 1, 2018

    BY ECF

    Honorable Valerie E. Caproni
    United States District Court
    Southern District of New York
    40 Foley Square
    New York, NY 10007

                    Re: United States v. Percoco, et al., 16 Cr. 776 (VEC)

    Dear Judge Caproni:

            We represent Joseph Percoco in the above-referenced matter. We write to respectfully
    request an adjournment of Mr. Percoco’s sentencing, currently scheduled for June 6, 2018. After
    conferring with the government, the government informed us that it would not object to an
    adjournment and a new sentencing date between July 2 and July 6, or between July 16 and
    August 10. Because of our own scheduling conflicts in July and August, we respectfully request
    that the Court adjourn Mr. Percoco’s sentencing date to the week of July 16, the week of July 30
    (with the exception of August 3), or the week of August 6 (with the exception of August 6).

            We further request that the Court reset the applicable schedule for the Pre-Sentence
    Investigation Report, including initial disclosure, objections, and final disclosure, based on any
    new sentencing date chosen by the Court. We have contacted the U.S. Probation Department,
    which takes no position on the proposed adjournment.



                                                      Respectfully submitted,

                                                      /s/ Barry A. Bohrer
                                                      Barry A. Bohrer
                                                      Michael L. Yaeger
                                                      Andrew D. Gladstein
